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   1
        Judge Dolly M. Gee
   2    SCHEDULE OF PRETRIAL & TRIAL DATES WORKSHEET
   3    Case No. 18-CV-5412-DMG (FFMx) Case DOYLE v. FAST ADVANCE FUNDING LLC
                        JOINTLY PREPARED           PLAINTIFF & DEFENDANT
   4                 ____________________ Name: _______________________________
                                                             JOINT REQUESTED DATE
   5                          MATTER                       or PLNTF/DEFT REQUESTED                TIME
                                                                     DATE
   6     TRIAL [ ] Court [X] Jury                                     June 2019
                                                                                                8:30 a.m.
   7     Duration Estimate: 3 DAYS                                       (Tuesday)
         FINAL PRETRIAL CONFERENCE (“FPTC”)                          May 1, 2019
                                                                                                2:00 p.m.
   8     4 wks before trial                                              (Tuesday)
   9                                                                                    JOINT
                                                                                  REQUESTED DATE
                        MATTER                     TIME COMPUTATION
   10                                                                              or PLNTF/DEFT
                                                                                  REQUESTED DATE
   11    Amended Pleadings and Addition of
         Parties Cut-Off (includes hearing of     90 days after scheduling conf    November 1, 2018
         motions to amend)
   12
         Non−Expert Discovery Cut-Off (includes at least 14 wks before FPTC          January 1, 2019
   13    hearing of discovery motions)

   14    Motion Cut-Off (filing deadline)         at least 13 wks before FPTC        January 30, 2019

   15    Initial Expert Disclosure & Report       at least 9 wks before FPTC       February 27, 2019
         Deadline
   16
         Rebuttal Expert Disclosure & Report                                         March 27, 2019
                                                  at least 5 wks before FPTC
   17    Deadline

   18    Expert Discovery Cut-Off (includes                                          April 10, 2019
                                                  at least 3 wks before FPTC
         hearing of discovery motions)
   19
         Settlement Conference Completion Date at least 4 wks before FPTC             April 3, 2018
   20
   21    Motions in Limine Filing Deadline        at least 3 wks before FPTC          April 10, 2019


   22    Opposition to Motion in Limine Filing    at least 2 wks before FPTC          April 17, 2019
         Deadline
   23                                                at least 90 days after
         Other Dates: (e.g., class cert motion      complaint served (unless
   24    cut-off, early mediation, etc.)             longer time justified)

   25
   26
   27                                            EXHIBIT A

   28

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